Case 3:18-cv-00296-MMD-CLB Document 230-2 Filed 10/16/20 Page 1 of 2




             Exhibit 19
October 12, 2020 Email from Marty
Tripp to Jeanine Zalduendo, Michael
  Lifrak, RKay and Aubrey Jones




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            Case 3:18-cv-00296-MMD-CLB Document 230-2 Filed 10/16/20 Page 2 of 2


Jeanine Zalduendo

From:                           MT <mtprotons@protonmail.com>
Sent:                           Monday, October 12, 2020 11:49 AM
To:                             Jeanine Zalduendo; Michael Lifrak; rkay@mcdonaldcarano.com; Aubrey Jones
Subject:                        Response to Doc 220


                                                 [EXTERNAL EMAIL]


As I'm sure you are well aware, I publicly posted my response to your bullshit 'Emergency Motion'. Please find
it here:

https://tesla-fraud.ch/wp-content/uploads/2020/10/2020-10-10-Tripp-Response-to-Tesla-Emergency-Motion-
Doc-220.pdf

I'm unable to set up electronic filing, so have requested someone helpful at the Court to submit it for me. It will
be up to you to determine whether that has taken place.

Of course, have a wonderful rest of your day and fuck you to all.

-Marty

Sent with ProtonMail Secure Email.




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